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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

                                       :
    DONNA PARRIS                       :
                                       :
    v.                                 : Civil No. 3:10CV1128 (WWE)
                                       :
    CHARLES PAPPAS, ET AL              :
                                       :
                                       :

                          RULING and ORDER

Motion to Compel [Doc. #302]

    Plaintiff seeks an order compelling production of documents

relating to a “Farmer’s Hill Trust.” [Doc. #302]. For the

reasons that follow, plaintiff’s Motion to Compel and Motion for

Costs and Attorneys Fees are DENIED.

    On September 19, 2016, defendant Pappas disclosed that in

2014 he served as the guarantor for the purchase by an entity

called “Farmer’s Hill Trust” of a property located at 27

Farmer’s Hill Road, Andover, Maine. In a response to an

Interrogatory dated November 16, 2016, defendant provided

further information stating,

    The property was purchased by Farmer’s Hill Trust, the
    trustee of which is Julie Webber, my girlfriend, and
    the beneficiary of which is Ms. Webber’s daughter. The
    property was purchased from Mr. and Mrs. Shaffer
    (possibly Bob and Jean). I am not certain of the
    purchase price but believe it was approximately
    $27,000, with a $1,000 down payment and $600 monthly
    payment. I served as guarantor because I wanted to
    help my girlfriend and the seller wanted an additional
    person to be made liable for payment.


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[Doc. #302-3, Pl. Ex. C (Answ. to Interrog. No. 2)]. He

added, “I have no relationship with Farmer’s Hill Trust.”

Id. (Answ. to Interrog. No. 3). After plaintiff informed

defendant that she believed that his response was

inadequate, a supplemental response consisting of a letter

dated February 9, 2017, from an attorney in Maine was

provided, stating that he had reviewed the trust documents

and reporting that “Charlie Pappas is not a grantor,

trustee or beneficiary of said Trust. Nor is he is [sic]

mentioned anywhere in the language of the Trust.” [Doc.

#302-4, Pl. Ex. D].

    On June 15, 2017, plaintiff again requested that Mr.

Pappas provide copies of the Trust documents. [Doc. #302-5,

Pl. Ex. E]. Defendant’s counsel responded that, “Mr. Pappas

has informed me that he has requested the trust documents

from his girlfriend and she has refused to provide them to

him.” Id.

    Rule 26(b)(1) of the Federal Rules of Civil Procedure

outlines the scope of discovery. Under the Rule, parties “may

obtain discovery regarding any nonprivileged matter that is

relevant to any party's claim or defense and proportional to the

needs of the case.” Relevance involves a consideration of “the

importance of the issues at stake in the action, the amount in

controversy, the parties' relative access to relevant

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information, the parties' resources, the importance of the

discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.”

Fed. R. Civ. P. 26(b)(1). Even when a request seeks relevant

matter, the court can limit such discovery when “the discovery

sought is unreasonably cumulative or duplicative, or can be

obtained from some other source that is more convenient, less

burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C). See

During v. City Univ. of New York, No. 05 CIV. 6992(RCC), 2006 WL

2192843, at *4 (S.D.N.Y. Aug. 1, 2006) (“Even if the information

sought is relevant, courts have the authority to forbid or to

alter discovery that is unduly burdensome.”).

    The Court agrees with plaintiff that the Trust

documents are relevant and the discovery request is proper,

pursuant to Fed. R. Civ. P. 26(b)(1), to determine whether

“Defendant Pappas is benefiting from this property or the

trust.” [Doc. #302 at 3]. However, the Court disagrees with

plaintiff’s argument that Pappas should be compelled to

produce the Trust documents because “he has shown that he

has some level of access to the documents by producing a

letter from an attorney who reviewed them.” Id. Rather,

plaintiff must accept defendant’s representation that “he

has requested [the responsive] documents from his

significant other, who denied the request.” [Doc. #306 at

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1]. (citing Pl. Ex. E)].

    It is well-established that “a party is not obliged to
    produce...documents that it does not possess or cannot
    obtain.” Shcherbakovskiy v. Da Capo Al Fine, Ltd., 490
    F.3d 130, 138 (2d Cir. 2007). Pursuant to Fed. R. Civ.
    P. 34, a party may serve on another party a request
    “to produce ... items in the responding party's
    possession, custody, or control.” A party “controls
    documents that it has the right, authority, or ability
    to obtain upon demand.” Scott v. Arex, Inc., 124
    F.R.D. 39, 41 (D. Conn. 1989) (citations omitted).
    Plaintiffs bear the burden of establishing that the
    documents are in GE's control. See Pitney Bowes, Inc.
    v. Kern Int'l, Inc., 239 F.R.D. 62, 66 (D. Conn.
    2006).

Grayson v. Gen. Elec. Co., No. 3:13-cv-1799(WWE)(WIG), 2016 WL

1275027, at *1 (D. Conn. Apr. 1, 2016). Plaintiff has not

sustained her burden of showing the requested documents are

within defendant’s possession, custody, or control. Defendant

has made a showing that he is not a grantor, trustee or

beneficiary of the Trust and that he does not possess copies of

the relevant documents. Further, he states he has requested the

documents from his girlfriend and she refuses to provide them.

See Fed. R. Civ. P. 26(1)(A)(ii)(requiring the initial

disclosure of “a copy...of all documents, electronically stored

information, and tangible things that the disclosing party has

in its possession, custody, or control and may use to support

its claims or defenses, unless the use would be solely for

impeachment.”); Fed. R. Civ. P. 34(a)(1)(authorizing service of

discovery requests for certain “items in the responding party’s


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possession, custody, or control”); Fed. R. Civ. P.

45(a)(1)(iii)(requiring subpoenas which “command each person to

whom it is directed to...produce designated documents,

electronically stored information, or tangible things in that

person’s possession, custody, or control”).

    Courts have universally held that documents are deemed
    to be within the possession, custody or control if the
    party has actual possession, custody or control or has
    the legal right to obtain the documents on demand.
    Starlight International v. Herlihy, 186 F.R.D. 626,
    635 (D. Kan. 1999). “Control” comprehends not only
    possession, but also the right, authority, or ability
    to obtain the documents. Super Film of Am., Inc. v.
    UCB Films, Inc., 219 F.R.D. 649, 651 (D. Kan. 2004).
    Therefore, Rule 34(a) enables a party seeking
    discovery to require production of documents beyond
    the actual possession of the opposing party if such
    party has retained any right or ability to influence
    the person in whose possession the documents lie. Id.
    The party seeking production of the documents bears
    the burden of proving that the opposing party has the
    control required under Rule 34(a). Id.

Tomlinson v. El Paso Corp., 245 F.R.D. 474, 476–77 (D. Colo.

2007).

    Rule 34 of the Federal Rules of Civil Procedure provides a

mechanism under Rule 45 to subpoena the Trustee, “a

nonparty...to produce documents and tangible things or to permit

an inspection.” Fed. R. Civ. P. 34(c); Fed. R. Civ. P. 45.

    Plaintiff may seek the assistance of the Court should the

Trustee fail to comply with a subpoena.

    Accordingly, plaintiff’s Motion to Compel and Motion for

Costs and Attorney’s Fees are DENIED.      [Doc. #302].

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August 29, 2017 Contempt Hearing

    Plaintiff having moved for a renewed order for contempt and

imposition of sanctions up to and including confinement until

defendant Charles Pappas purges his contempt, [Doc. #274], it is

hereby ORDERED that the defendant, Charles Pappas, appear before

the District Court in Courtroom Four - Annex, 915 Lafayette

Boulevard, Bridgeport, Connecticut, at 11:00 AM on August 29,

2017, then and there to be examined under oath concerning his

assets and ability to pay the judgment entered against him. The

Court may make such orders at the hearing or thereafter that it

determines to be reasonably calculated to facilitate payment of

the judgment.

    The defendant is advised that failure to appear before the

Court at the scheduled time and place may subject the defendant

to being held in Contempt of Court and having a Capias Writ

issue, that is an order to the U.S. Marshal to take him into

custody and bring him before the Court. It is FURTHERED ORDERED

that this order be served by certified mail, return receipt

requested, upon Charles Pappas by no later than August 11, 2017.

    SO ORDERED at Bridgeport this 3rd day of August 2017.


                              /s/   ___    _____________
                           HOLLY B. FITZSIMMONS
                           UNITED STATES MAGISTRATE JUDGE



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